            Case 2:20-cr-20433-PDB-APP ECF No. 7, PageID.24 Filed 08/19/20 Page 1 of 1
AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                               UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of Michigan

                  United States of America                           )
                             v.                                      )       Case No. 20-30299
                                                                     )
                      SAMUEL BAKER
                                                                     )
                                                                     )


                               ORDER SCHEDULING A DETENTION HEARING


              A detention hearing in this case is scheduled as follows:

 Place:
                                                                          Courtroom:          Room 104
 Via Zoom Video

                                                                          Date and Time: 8/20/2020 at 1pm



     IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date,
and place set forth above.



Date: August 19, 2020                                                s/Elizabeth A. Stafford
                                                                     Judicial Officer’s Signature


                                                                     Elizabeth A. Stafford, U.S. Magistrate Judge
                                                                     Printed name and title
